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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )
                                          )           8:05CR378
                    Plaintiff,            )
                                          )
       vs.                                )            ORDER
                                          )
MARCO A. COVARRUBIAS,                     )
                                          )
                    Defendant.            )



       Defendant’s Motion to Appoint New Counsel (Filing No. 52) is scheduled for hearing
before the undersigned magistrate judge at 10:00 a.m. on April 26, 2006, in Courtroom
No. 7, Second Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza,
Omaha, Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 25th day of April, 2006.
                                                BY THE COURT:


                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
